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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 ALIGN TECHNOLOGY, INC.,

                Plaintiff and
                Counterclaim-Defendant,
                                                   C.A. No. 6:20-cv-00979
         v.
                                                   JURY TRIAL DEMANDED
 3SHAPE A/S and 3SHAPE TRIOS A/S

                Defendants and
                Counterclaim-Plaintiffs.


              PLAINTIFF’S UNOPPOSED MOTION TO ISSUE LETTERS OF
                   REQUEST FOR INTERNATIONAL DISCOVERY

       Plaintiff and Counterclaim Defendant Align Technology, Inc. (“Align”) seeks foreign

discovery from witnesses residing in Denmark. Align has attached an Appendix with a Letter of

Request of Documents and a Deposition. Align respectfully requests that the Court execute the Letter

of Request attached as Appendix A. Align further requests that, after the Court has signed the Letter

of Request, the Clerk of this Court authenticate the Court’s signature under the seal of this Court, and

return the original signed and sealed executed Letter, and two certified copies of the signed and sealed

executed Letters, to Align’s counsel, Barry K. Shelton, for delivery to the proper authority.

       Defendants 3Shape A/S and 3Shape TRIOS A/S indicated they do not oppose this request.
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Dated: September 3, 2021      By: /s/ Faye Paul Teller
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                                     CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on all counsel of record via the Court’s ECF system.




                                                 /s/ Faye Paul Teller
